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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

THE STATE OF LOUISIANA, et al.,
                                                    CIVIL ACTION NO.
              Plaintiff,                         2:23-CV-01839-DJP-JVM

         v.                                    JUDGE DARREL PAPILLON

DEPARTMENT OF HOMELAND                      MAGISTRATE JUDGE JANIS VAN
SECURITY, et al.,                                   MEERVELD

              Defendants.


               [PROPOSED] ORDER GRANTING PLAINTIFFS’
                   MOTION FOR ADDITIONAL PAGES

      This Court has considered Plaintiffs’ motion for additional pages for their

memorandum in support of their motion for a preliminary injunction. For good cause

shown,

      IT IS ORDERED that Plaintiffs’ motion for additional pages is GRANTED.

Plaintiffs may file a memorandum of not more than 48 pages to support their motion

for a preliminary injunction.

      Signed this _____ day of ______________, 2023.



                                      ________________________________________
                                       UNITED STATES DISTRICT JUDGE
